                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       NOS. 3:00-00188 & 3:01-00097
                                                    )       JUDGE CAMPBELL
KEVIN JERRON COOK                                   )

                                            ORDER

       Pending before the Court are Motions to Continue & Consolidate Supervised Release

Hearing with Sentencing Hearing in No. 3:13-00206 (Docket Nos. 55 and 1105). The Motions are

GRANTED with the consent of Judge Trauger.

       The cases of U.S. v. Kevin Jerron Cook, 3:00-CR-00188 and 3:01-CR-00097, are transferred

to Judge Trauger as related to Case No. 3:13-CR-00206. The hearings for both cases are rescheduled

for September 18, 2014, at 2:00 p.m. to be heard in conjunction with Case No. 3:13-CR-00206.

       It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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